

Matter of Krishna S. v Claire A. (2022 NY Slip Op 04109)





Matter of Krishna S. v Claire A.


2022 NY Slip Op 04109


Decided on June 23, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 23, 2022

Before: Renwick, J.P., Kern, Kennedy, Mendez, Higgitt, JJ. 


 Docket Nos. 0-01638/21 0-02444/21 Appeal No. 16174 Case No. 2021-04174 

[*1]In the Matter of Krishna S., Petitioner-Respondent,
vClaire A., Respondent-Appellant. 


Marion C. Perry, Brooklyn, for appellant.
Krishna S., respondent pro se.



Order, Family Court, New York County (Gail A. Adams, Ref.), entered on or about November 5, 2021, which denied respondent-appellant's motion to dismiss the family offense petition for lack of subject matter jurisdiction, unanimously affirmed, without costs.
Family Court properly denied respondent's motion to dismiss the petition. Although petitioner alleged that, after meeting through an online dating site, the parties were in an "intimate relationship" within the meaning of Family Court Act § 812(1)(e) (see Matter of Xin Li v Ramos, 125 AD3d 681, 682 [2d Dept 2015]; see Matter of Jose M. v Angel V., 99 AD3d 243, 248-249 [2d Dept 2012]), the court properly found that respondent's affidavit in support of the motion to dismiss raised issues of fact warranting a hearing on the issue of whether the parties were involved in an intimate relationship, and not mere "casual acquaintances," after which the court may make a fact-specific determination on subject matter jurisdiction (see Matter of Gustavo D. v Michael D., 146 AD3d 530 [1st Dept 2017]; Matter of Jose M., 99 AD3d at 249).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 23, 2022








